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Richard E. Weltman (rew@weltmosk.com)
Michael L. Moskowitz (mlm@weltmosk.com)
Debra Kramer (dk@weltmosk.com)
Adrienne Woods (aw@weltmosk.com)
Melissa A. Guseynov (mag@weltmosk.com)
WELTMAN & MOSKOWITZ, LLP
Proposed Attorneys for Debtor/Debtor-in-Possession
270 Madison Avenue, Suite 1400
New York, New York 10016-0601
(212) 684-7800
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      )       Chapter 11 Case
In re:                                                )
                                                      )
                                                      )       Case No. 19-12417 (MEW)
 HVI CAT CANYON, INC.,                        )       )
                                              )       )
                                Debtor.       )       )
                                                      )
  DEBTOR’S MOTION SEEKING ENTRY OF AN ORDER UNDER BANKRUPTCY
 CODE SECTIONS 363(A), (B), (F) AND (M) AND BANKRUPTCY RULES 2002, 6004
 AND 9004, AND L.B.R. 6004-1: (I) AUTHORIZING DEBTOR TO SELL PROPERTY
KNOWN AS THE REDU ASSET BY PRIVATE SALE; (II) SCHEDULING A HEARING
 TO APPROVE SUCH SALE; AND (III) APPROVING THE MANNER AND EXTENT
                       OF NOTICE OF SUCH HEARING

TO: THE HONORABLE MICHAEL E. WILES
    UNITED STATES BANKRUPTCY JUDGE

               HVI Cat Canyon, Inc., as debtor and debtor-in-possession (“Debtor”), in support of

Debtor’s Motion seeking entry of an Order under sections 363(a), (b), (f) and (m) of title 11 of the

United States Code (“Bankruptcy Code”), Rules 2002, 6004 and 9004 of the Federal Rules of

Bankruptcy Procedure (“Bankruptcy Rules”), and Rule 6004-1 of the Local Bankruptcy Rules, (i)

authorizing Debtor to sell property known as the REDU Asset (as such term is described below)

by private sale free and clear of all liens, claims and encumbrances with such liens, claims and

encumbrances to attach to the proceeds of sale; (ii) scheduling a hearing to approve such sale; and

(iii) approving the manner and extent of notice of such hearing; together with such other and further

relief as this Court deems just and proper; and respectfully represents as follows:
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                                        BACKGROUND

       1.      On July 25, 2019, Debtor filed a voluntary petition for relief under chapter 11 of

the Bankruptcy Code. Debtor is authorized to continue to operate its business and manage its

properties as debtor and debtor-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. An Official Committee of Unsecured Creditors (“Creditors’ Committee”) was

appointed in this chapter 11 case.

       2.      Debtor is the owner and operator of producing oil and gas interests in California.

Debtor owns an approximate 100% working interest and an average 85% net revenue interest in

several oilfields in the Santa Maria Valley of Santa Barbara County, North Belridge in Kern

County, and Richfield East Dome Unit in Orange County. Debtor’s assets include: (a) fee and

leased mineral acreage, (b) oil and gas wells, (c) compressor plants, (d) tank batteries, and (e) an

extensive pipeline infrastructure. Debtor was formed as a Colorado corporation in 1997 and

employs approximately 50 individuals.

       3.      The Richfield East Dome Unit (“REDU”) is located in the Richfield Field in Orange

County, California. REDU has had continuous oil production since the field’s discovery in the

1920’s. The field was unitized in 1969 amongst independent producers, with Texaco as operator.

Debtor has been the owner and operator of the REDU Asset since 1999 and without any significant

environmental and regulatory impacts.

       4.      Today, there are a total of 139 wells (85 oil and gas producers and 54 water

injectors) within REDU. The field spans approximately 568 mineral acres across three cities:

Anaheim, Yorba Linda, and Placentia. These cities are amongst the prestigious residential

communities within Orange County. As the population in Southern California grew over the

decades, the once-rural properties surrounding REDU were eventually developed with residences


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coming as close as possible to REDU’s footprint. REDU’s operations are a complex array of

equipment and pipeline infrastructure that snakes its way through high-end apartment complexes,

schools, parks and multi-family dwellings, in densely populated neighborhoods.

        5.      In December 2017, the California Department of Conservation, Division of Oil,

Gas and Geothermal Resources (“DOGGR”) – which has oversight of REDU’s operations –

issued Order No. 1119 to Debtor to stop injection, remediate project issues, take preventative

measures, impose a civil penalty and to post a “Life of” bond. The Order has been amended twice

since then resulting in Order No. 1119C, as corrections by DOGGR had been made in

acknowledgment of Debtor’s interim compliance with the Order. However, Debtor’s requirement

to file a “Life of” bond continues to be required in Order 1119C in the approximate amount of $39

million which is the cost estimated by DOGGR to plug the REDU wells and remediate the subject

properties. It is Debtor’s understanding that if the REDU Asset were sold pursuant to which a new

operator would replace Debtor, DOGGR would waive or cancel the “Life of” bond requirement.

Absent such sale, HVI would have to fund $39 million to either post a “Life of” bond in compliance

with Order 1119C or, failing such bond posting and having to shut in the field as a result, plug the

wells and remediate the properties.

Summary of Purchase Agreement

        6.      As more fully discussed below, Debtor has signed an Agreement of Sale and

Purchase (“Purchase Agreement”) with REDU Holdings, LLC (“Buyer”) to acquire the REDU

Asset for $1.25 million, in its present “as is, where is” condition. In summary, the REDU Asset

substantially consists of: (i) all rights, titles and interests of Debtor in and to the oil, gas and mineral

leases which comprise the mineral acres; (ii) the wells located on the leases or lands pooled

therewith; (iii) various contracts, including exploration, development, operation and maintenance


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contracts; (iv) personal property; and (v) surface interests. It is respectfully submitted that the

Purchase Agreement be reviewed in its entirety regarding the property to be sold and purchased

under the Purchase Agreement. A copy of the Purchase Agreement is annexed as Exhibit “A.”

       7.      Moreover, Buyer has agreed as further consideration to assume all liability arising

from its ownership, operation and use of REDU as well as such claims in Order No. 1119C

(excluding the claim to pay a civil penalty). To Debtor’s knowledge, the new operator who would

replace Debtor upon closing the sale is in good standing with DOGGR to take over REDU’s

operations.

                                     RELIEF REQUESTED

       8.      Debtor submits this Application seeking entry of an Order under sections 363(a),

(b), (f) and (m) of the Bankruptcy Code, Bankruptcy Rules 2002, 6004 and 9004, and Local

Bankruptcy Rule 6004-1: (i) authorizing Debtor to sell property known as the REDU Asset by

private sale, free and clear of such liens, claims and encumbrances with such liens, claims and

encumbrances attaching to the proceeds of sale; (ii) scheduling a hearing to approve such sale; and

(iii) approving the manner and extent of notice of such hearing; together with such other and further

relief as this Court deems just and proper.

       9.      Debtor has been engaged in an active marketing campaign for the last 3 years,

which included hiring Roth Capital Partners in 2017, in an attempt to solicit and negotiate offers

for the purchase of the REDU Asset among other properties. Despite extensive marketing efforts

undertaken by Roth Capital Partners over several months, no buyers came forward. Thereafter,

Debtor initiated a dialogue with the adjacent Operator – Bridgemark, to acquire the REDU Asset.

However, after DOGGR issued Order No. 1119 (its first Order) in December 2017, Bridgemark,

who was the only potential buyer of the REDU Asset, declined to proceed.


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       10.     It was not until approximately two months ago, that Debtor received an unsolicited

expression of interest from Buyer to purchase the REDU Asset. The dialogue eventually resulted

in execution of the attached Purchase Agreement. The prospective purchaser is neither an affiliate

nor creditor of Debtor. The negotiations with the prospective purchaser were at arms-length.

       11.     The offer received from Buyer will enable Debtor to bring much needed funds to

the bankruptcy estate while eliminating the potential cost of approximately $39 million to Debtor

and its creditors of plugging the wells and remediating the properties. Moreover, approval of the

private sale of the REDU Asset will enable DOGGR to waive or cancel the “Life of” bond

requirement in Order No. 1119C. While Debtor has appealed Order No. 1119C, the hearing of

such appeal is scheduled for August 26 through August 29, 2019 before an Administrative Law

Judge. Any ruling to require the “Life of” bond will attach to the REDU Asset, making it

essentially impossible for Debtor to sell the properties and, in turn, causing Debtor to plug the

wells and remediate the properties at a cost of approximately $39 million.

       12.     Debtor submits the current offer, subject to this Court’s approval, is likely the best

and, possibly, the only offer to be received for the purchase of the REDU Asset. With the dearth

of interest in the REDU Asset despite marketing efforts previously undertaken by an investment

bank retained by Debtor, Debtor believes that making the offer subject to higher and/or better

offers will not result in any higher and/or better offer being made for the REDU Asset. Rather,

any further delay in the sale of the REDU Asset could result in the loss of the current offer, to the

detriment of Debtor’s estate and creditors, while potentially saddling Debtor’s estate with the

significant remediation costs of approximately $39 million.       Accordingly, Debtor respectfully

requests that the Court approve the attached Purchase Agreement and allow Debtor to consummate




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the sale of the REDU Asset in accordance with the express terms set forth in the Purchase

Agreement.

       13.     In addition, Debtor requests the Bankruptcy Court determine Purchaser has acted

in good faith and is entitled to the protections of a good faith purchaser under Bankruptcy Code

section 363(m). The Purchase Agreement was negotiated by and between Debtor and the

Purchaser at arm’s length and in good faith. Purchaser has not provided any deposit with respect

to the purchase of the REDU Asset.

       14.     The sale of the REDU Asset to Buyer, pursuant to Bankruptcy Code sections 363(b)

and (f) will be free and clear of all liens, claims and encumbrances, if any, with such liens, claims

and encumbrances attaching to the proceeds of sale.

                           BASIS FOR THE RELIEF REQUESTED

       15.     This Court has jurisdiction to hear this Motion under 28 U.S.C. §§ 157(a) and 1334,

and the Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.). This

is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (N) and (O). The statutory predicates

for the relief requested herein are Bankruptcy Code sections 105, 363(b) and (f), Bankruptcy Rules

2002 and 6004 and Local Bankruptcy Rule 6004-1.

       16.     Bankruptcy Code section 363(b)(1) provides that “[t]he Trustee, after notice and

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1) and (f). This section is applicable to Debtor pursuant to Bankruptcy

Code section 1107(a). The terms of such sale are generally within the sound discretion of the

Debtor. See In re Ionosphere Clubs, Inc., 100 B.R. 670 (Bankr. S.D.N.Y. 1989)(sale of debtor’s

airline shuttle assets approved where representing the exercise of independent good faith and non-

coerced business judgment by the debtor, the debtor articulated a compelling business reason for


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the sale and the price represented fair value). As recognized by the Second Circuit in In re Lionel

Corp., 722 F.2d 1063 (2d Cir. 1983), a court may approve a Bankruptcy Code section 363

application after expressly determining from the evidence presented at the hearing, that a good

business reason exists to grant such application.

        17.     In accordance with Bankruptcy Rule 6004(f)(1), sales of property outside of the

ordinary course of business may be made by private sale or auction. As set forth herein, based

upon the dearth of interest in the REDU Asset, Debtor’s ability to realize funds from the sale of

the REDU Asset and eliminate significant remedial costs of approximately $39 million to the

benefit of its estate and creditors, Debtor believes the sale of the REDU Asset to Buyer by private

sale is warranted and in the best interests of the estate and its creditors. Any further delay in the

sale of the REDU Asset will only result in Debtor’s inability to sell the asset as a result of

DOGGR’s Orders, while saddling the estate with substantial debt to the detriment of Debtor’s

estate and its creditors.

        18.     As set forth herein, Debtor respectfully submits that compelling business

justifications exist for approval of the relief requested in this Motion and the sale of the REDU

Asset to Buyer in accordance with the Purchase Agreement.

                                  NOTICE OF THE MOTION

        19.     Notice of this Motion has been provided to (i) the U.S. Trustee (Attn: Serene

Nakano, Esq. and Greg M. Zipes, Esq.); (ii) the holders of the five (5) largest secured claims

against Debtor; (iii) Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New

York, New York 10017; Attn: Robert J. Feinstein, Esq. and Richard E. Mikels, Esq., proposed

counsel for the Creditors’ Committee; (iv) O’Melveny & Meyers, LLP, 400 South Hope Street,

Los Angeles California 90071-2899; Attn: Evan M. Jones, Esq., counsel to secured creditor UBS


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AG London Branch; (iv) Quinn Emanuel Urquhart & Sullivan, LLP, 711 Louisiana Street, Suite

500, Houston, Texas 77002, Attn: Patty Tomasco, Esq., counsel for GIT, Inc.; (v) the Internal

Revenue Service; (vi) the Environmental Protection Agency and similar state environmental

agencies for states in which Debtor conducts business; (vii) the state attorneys general for states in

which Debtor conducts business; (viii) DOGGR; and (ix) all persons and entities who have filed

Notices of Appearance in this case (collectively, the “Notice Parties”). Debtor submits that, in

view of the facts and circumstances, such notice to the Notice Parties is sufficient and proper

notice, and no other or further notice need be provided.

         WHEREFORE, Debtor respectfully requests that this Court grant this Motion approving

the private sale of the REDU Asset to Buyer in accordance with the Purchase Agreement, free and

clear of all liens, claims and encumbrances, if any, with such liens, claims and encumbrances to

attach to the proceeds of sale, and granting such other and further relief as the Court deems just

and proper.

Dated:    New York, New York
          August 27, 2019
                                                      WELTMAN & MOSKOWITZ, LLP
                                                      Proposed Attorneys for Debtor/Debtor in
                                                      Possession

                                                      By: /s/ Michael L. Moskowitz
                                                           MICHAEL L. MOSKOWITZ
                                                      270 Madison Avenue, Suite 1400
                                                      New York, New York 10016
                                                      (212) 684-7800




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